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                     UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF NextGen 1.6.3
                                Eastern Division

Quintel Stallworth
                                      Plaintiff,
v.                                                      Case No.: 1:22−cv−00830
                                                        Honorable Martha M. Pacold
Smith & Wesson Brands, Inc.
                                      Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Friday, May 27, 2022:


       MINUTE entry before the Honorable Martha M. Pacold: Pursuant to the Notice of
Voluntary Dismissal [11] filed by Plaintiff on 5/27/2022, this case is hereby dismissed
without prejudice as to all claims asserted by Plaintiff and the putative class. Civil case
terminated. (rao, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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